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 8                               UNITED STATES DISTRICT COURT

 9                             SOUTHERN DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,          )          Case No. 08cr0256-L
                                         )
11                       Plaintiff,      )          AMENDED ORDER OF
                                         )          CRIMINAL FORFEITURE
12          v.                           )
                                         )
13    DAPHNE ROSALINDA JACKSON (4), )
            aka Daphne R. Rae,           )
14                                       )
                         Defendant.      )
15    ___________________________________)

16

17           On October 24, 2008, this Court entered its Preliminary Order of Criminal Forfeiture,

18    which condemned and forfeited to the United States all right, title and interest of DAPHNE

19    ROSALINDA JACKSON (4) in the properties listed in the Forfeiture Allegations of the

20    Indictment, namely,

21                  a.      approximately $626 in U.S. currency;

22                  b.      approximately $718 in U.S. currency;

23                  c.      approximately $2,136 in U.S. currency;

24                  d.      approximately $1,360 in U.S. currency;

25                  e.      approximately $1,955 in U.S. currency;

26                  f.      approximately $500 in U.S. currency;

27                  g.      a 1998 Chevy Tahoe V8, bearing California license plate number
                            3XSH296 and VIN 1GNEK13R3WJ333366;
28
                    h.      a 2004 Nissan Armada V8, bearing California license plate number
                            5LDP491 and VIN 5N1AA08A34N746851;
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 1                    i.      a 2005 Cadillac CTS Sedan V6, bearing California license plate
                              number 6AIM935 and VIN 1G6DP567450188336;
 2
                      j.      a 1998 Cadillac Deville D’Elegance, bearing California license
 3                            plate number 4YGR821 and VIN 1G6KE54Y7WU782339; and

 4                    l.      a 2000 Honda Accord 4DR, bearing California license plate number
                              6AMM960 and VIN 3HGCG6657YG702226.
 5
                      m.      a personal money judgment against the Defendant, entered by the
 6                            Clerk of the Court on January 8, 2009, in the amount of $20,000.00.

 7            For thirty (30) consecutive days ending on November 26, 2008, the United States published

 8    on the Government’s forfeiture website, www.forfeiture.gov, notice of the Court's Order and the

 9    United States' intent to dispose of the properties in such manner as the Attorney General may

10    direct, pursuant to 21 U.S.C. § 853(n) and Rule G(4) of the Supplemental Rules for Admiralty or

11    Maritime Claims and Asset Forfeiture Actions, and further notifying all third parties of their right

12    to petition the Court within thirty (30) days of the final publication for a hearing to adjudicate the

13    validity of their alleged legal interest in the properties.

14            On November 21, 2008, Notice of Order of Forfeiture was sent by certified mail as follows:

15    Name and Address                                Article No.                    Result

16    Virginia Hughes                                 7006 3450 0002 4571 3135       Delivered 11/29/08
      7410 Cuvier Street, #4,                                                        per USPS Track &
17    La Jolla CA 92037                                                              Confirm website

18    Lee Vaughn Walker (1)                           7006 3450 0002 4571 3142       Signed for as
      c/o Shaun Khojayan, Esq.                                                       received on 11/24/08
19    Law Offices of Shaun Khojayan, PLC
      121 Broadway, Suite 338
20    San Diego CA 92101

21    Melvin Alexander (2)                            7006 3450 0002 4571 3159       Signed for as
      c/o Mark F. Adams, Esq.                                                        received on 11/24/08
22    Law Offices of Mark F. Adams
      964 Fifth Avenue, Suite 335
23    San Diego CA 92101

24    Eleodoro Castillo-Urbina (3)                    7006 3450 0002 4571 3173       Signed for as
      c/o Antonio F. Yoon, Esq.                                                      received on 11/22/08
25    Law Offices of Antonio F. Yoon
      501 West Broadway, Suite A-387
26    San Diego CA 92101

27    //

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 1    Name and Address                          Article No.                Result

 2    Bernal Anthony Mitchell (5)               7006 3450 0002 4571 3166   Signed for as
      c/o Mahir Twefik Sherif, Esq.                                        received on 11/24/08
 3    Law Offices of Mahir T. Sherif
      3376 30th Street
 4    San Diego CA 92104-4535

 5    Allen Matthew Baker, Jr. (6)              7006 3450 0002 4571 3180   Signed for as
      c/o Joseph Milchen, Esq.                                             received on 11/24/08
 6    Law Offices of Joseph Milchen
      136 Redwood Street
 7    San Diego CA 92103

 8    Michael Dwayne Tryals (7)                 7006 3450 0002 4571 3197   Signed for as
      c/o David H. Bartick, Esq.                                           received on 11/24/08
 9    Law Offices of David H. Bartick
      101 West Broadway, Suite 1950
10    San Diego CA 92101-8220

11    Bobby Shawn Lockhart (8)                  7006 3450 0002 4571 3203   Signed for as
      c/o Stephen Patrick White, Esq.                                      received on 11/24/08
12    Law Offices of Stephen P. White
      101 West Broadway, Suite 1950
13    San Diego CA 92101-6036

14    Alexander Weir, IV (9)                    7006 3450 0002 4571 3210   Signed for as
      c/o John C. Lemon, Esq.                                              received on 11/24/08
15    Law Office of John C. Lemon
      1350 Columbia Street, Suite 600
16    San Diego CA 92101

17    Alexander Weir, V (10)                    7006 3450 0002 4571 3227   Signed for as
      c/o Benjamin P. Lehman, Esq.                                         received on 11/24/08
18    Law Offices of Benjamin P. Lechman
      964 Fifth Avenue, Suite 303
19    San Diego CA 92101

20    Felipe Medina (11)                        7006 3450 0002 4571 3234   Signed for as
      c/o Stephen D. Lemish                                                received on 11/24/08
21    Attorney at Law
      152 West Park Avenue, Suite 150
22    El Cajon CA 92020

23    Melvin Andre Bibbs (12)                   7006 3450 0002 4571 3241   Signed for as
      c/o Mary A. Franklin, Esq.                                           received on 1/05/09
24    Law Offices of Mary A. Franklin
      P.O. Box 152318
25    San Diego CA 92101

26    Mark Edward Runnels (13)                  7006 3450 0002 4571 3258   Signed for as
      c/o Keith Howard Rutman, Esq.                                        received on 11/24/08
27    Law Offices of Keith H. Rutman
      402 West Broadway, Suite 2010
28    San Diego CA 92101-8516


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 1           On December 9, 2008, Virginia Hughes filed a Petition for Hearing to Adjudicate Validity

 2    of Petitioner’s Interest In Forfeited Property regarding one of the above-referenced assets, the 1998

 3    Chevy Tahoe. On March 25, 2009, this Court filed its order denying the petition; therefore, the

 4    1998 Chevy Tahoe may now be forfeited along with the other assets.

 5           Thirty (30) days have passed following the final date of notice by publication and notice

 6    by certified mail, and no third party except Virginia Hughes has made a claim to or declared any

 7    interest in the forfeited properties described above.

 8           Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that, as a result

 9    of the failure of any third party to come forward or file a petition for relief from forfeiture as

10    provided by law, all right, title and interest of DAPHNE ROSALINDA JACKSON (4) and any

11    and all third parties in the following properties are hereby condemned, forfeited and vested in the

12    United States of America:

13                   a.      approximately $626 in U.S. currency;

14                   b.      approximately $718 in U.S. currency;

15                   c.      approximately $2,136 in U.S. currency;

16                   d.      approximately $1,360 in U.S. currency;

17                   e.      approximately $1,955 in U.S. currency;

18                   f.      approximately $500 in U.S. currency;

19                   g.      a 1998 Chevy Tahoe V8, bearing California license plate number
                             3XSH296 and VIN 1GNEK13R3WJ333366;
20
                     h.      a 2004 Nissan Armada V8, bearing California license plate number
21                           5LDP491 and VIN 5N1AA08A34N746851;

22                   i.      a 2005 Cadillac CTS Sedan V6, bearing California license plate
                             number 6AIM935 and VIN 1G6DP567450188336;
23
                     j.      a 1998 Cadillac Deville D’Elegance, bearing California license
24                           plate number 4YGR821 and VIN 1G6KE54Y7WU782339; and

25                   l.      a 2000 Honda Accord 4DR, bearing California license plate number
                             6AMM960 and VIN 3HGCG6657YG702226.
26
                     m.      a personal money judgment against the Defendant, entered by the
27                           Clerk of the Court on January 8, 2009, in the amount of $20,000.00.

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 1            IT IS FURTHER ORDERED that costs incurred by the United States Marshals Service,

 2    the Federal Bureau of Investigation and any other governmental agencies which were incident to

 3    the seizure, custody and storage of the properties be the first charge against the forfeited properties.

 4            IT IS FURTHER ORDERED that the United States Marshals Service shall dispose of the

 5    forfeited properties according to law.

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      DATED: April 1, 2009
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 8                                                   M. James Lorenz
                                                     United States District Court Judge
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